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                                                                      1   COHEN JOHNSON PARKER EDWARDS
                                                                          H. STAN JOHNSON, ESQ.
                                                                      2   Nevada Bar No. 00265
                                                                          CHARLES (“CJ”) E. BARNABI JR., ESQ.
                                                                      3   Nevada Bar No. 14477
                                                                      4   375 E. Warm Springs Road, Suite 104
                                                                          Las Vegas, Nevada 89119
                                                                      5   Telephone: (702) 823-3500
                                                                          Facsimile: (702) 823-3400
                                                                      6   Attorneys for Debtor
                                                                      7                               UNITED STATES BANKRUPTCY COURT
                                                                      8
                                                                                                               DISTRICT OF NEVADA
                                                                      9
                                                                           In re:                                               Case No.: 18-12467-abl
                                                                     10                                                         Chapter 13
COHEN JOHNSON PARKER EDWARDS




                                                                           HENRY IP,
                                                                     11

                                                                     12                    Debtor.
                               (702) 823-3500 FAX: (702) 823-3400
                               375 E. Warm Springs Road, Suite 104




                                                                     13                    NOTICE OF VOLUNTARY CONVERSION TO CHAPTER 7
                                     Las Vegas, Nevada 89119




                                                                     14             NOTICE IS HEREBY GIVEN THAT Debtor, pursuant to 11 U.S.C. § 1307(a) hereby
                                                                     15   elects to voluntarily convert this Chapter 13 proceeding to a Chapter 7.
                                                                     16
                                                                                    DATED this 14th day of May 2018.
                                                                     17
                                                                                                                       COHEN|JOHNSON|PARKER|EDWARDS
                                                                     18

                                                                     19

                                                                     20                                         By:    _/s/ CJ Barnabi____________________
                                                                                                                       H. Stan Johnson, Esq.
                                                                     21                                                Nevada Bar No. 00265
                                                                                                                       Charles (“CJ”) E. Barnabi Jr., Esq.
                                                                     22                                                Nevada Bar No. 14477
                                                                                                                       375 East Warm Springs Road, Ste. 104
                                                                     23
                                                                                                                       Las Vegas, Nevada 89119
                                                                     24                                                Attorneys for Debtor

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                                                                           Case 18-12467-abl     Doc 10     Entered 05/14/18 13:10:28     Page 2 of 3



                                                                      1                                   CERTIFICATE OF SERVICE

                                                                      2         On this 14th day of May 2018 I served the foregoing:
                                                                      3         1.     NOTICE OF VOLUNTARY CONVERSION TO CHAPTER 7
                                                                      4
                                                                                I served the above-named documents by the following means to the persons listed below:
                                                                      5
                                                                                a.        ECF System
                                                                      6
                                                                          H STAN JOHNSON on behalf of Debtor HENRY IP
                                                                      7   sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;cj@cohenjohnson.com;
                                                                          sgondek@cohenjohnson.com
                                                                      8

                                                                      9   KATHLEEN A. LEAVITT courtsecf3@las13.com

                                                                     10         b.        United States Mail, postage fully prepaid, to the attached Matrix
COHEN JOHNSON PARKER EDWARDS




                                                                     11                See Mailing Matrix attached hereto.
                                                                     12
                               (702) 823-3500 FAX: (702) 823-3400
                               375 E. Warm Springs Road, Suite 104




                                                                                c.        Personal Service
                                                                     13
                                     Las Vegas, Nevada 89119




                                                                                d.        By direct email (as opposed to through ECF System)
                                                                     14
                                                                                e.        By facsimile transmission
                                                                     15
                                                                                f.        By messenger
                                                                     16

                                                                     17         I declare under penalty of perjury that the foregoing is true and correct.

                                                                     18
                                                                                DATED: May 14, 2018                _/s/ C.J. Barnabi______
                                                                     19                                      An employee of Cohen Johnson Parker Edwards
                                                                     20

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                           Case 18-12467-abl Doc 10 Entered 05/14/18 13:10:28 Arvest
Label Matrix for local noticing                                                 Page    3 of Mortgage
                                                                                     Central  3
0978-2                                                                        Acct No 1231302049
Case 18-12467-abl                                                             801 John Barrow Rd Ste 1
District of Nevada                                                            Little Rock, AR 72205-6599
Las Vegas
Sat May 12 00:02:58 PDT 2018
(p)BANK OF AMERICA                          Barlow Douglas & Hall, CPAs, PLLC Citibank/Sears
PO BOX 982238                               Acct No A-17-761993-C             Acct No 5121072151899467
EL PASO TX 79998-2238                       c/o Parry & Pfau                  Centralized Bankruptcy
                                            880 Seven Hills Dr., Ste. 210     Po Box 790034
                                            Henderson, NV 89052-4380          St Louis, MO 63179-0034

Costco Go Anywhere Citicard                          Joseph & Wenie Cellura                               Mortgage Service Center/PHH Mortgage
Acct No 4100390438029486                             Acct No A-15-725034                                  Acct No 9547117528476
Citicorp Credit Services/Centralized Ban             c/o Richard Harris Law Firm                          Attn: Bankruptcy Department
Po Box 790040                                        801 S. 4th Street                                    Po Box 5452
St. Louis, MO 63179-0040                             Las Vegas, NV 89101-6708                             Mount Laurel, NJ 08054-5452

Volkswagen Credit, Inc                               Wells Fargo Home Mortgage
Acct No 893327378                                    Acct No 9360297468092
Po Box 3                                             Attn: Bankruptcy
Hillsboro, OR 97123-0003                             Mac X7801-014 3476 Stateview Blvd
                                                     Fort Mill, SC 29715




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank Of America                                      (d)Bank Of America                                   End of Label Matrix
Acct No 251124004                                    Acct No 4400664589158394                             Mailable recipients     13
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Bypassed recipients      0
Po Box 982238                                        Po Box 982238                                        Total                   13
El Paso, TX 79998                                    El Paso, TX 79998
